                                                               United States Bankruptcy Court
                                                                         District of Arizona
 In re      ASHLYNN D MEDINA                                                                               Case No.
                                                                                   Debtor(s)               Chapter     7



                              Declaration of Evidence of Employers' Payments Within 60 Days

                        Attached hereto are copies of all payment advices, pay stubs or other evidence of payment received by
                        the debtor from any employer within 60 days prior to the filing of the petition;

                        Debtor has received no payment advices, pay stubs or other evidence of payment from any employer
                        within 60 days prior to the filing of the petition; or

                        Debtor has received the following payments from employers within 60 days prior to the filing of the
                        petition:     .

            Debtor,        ASHLYNN D MEDINA                   , declares the foregoing to be true and correct under penalty of perjury.



 Date July 5, 2018                                                     Signature   /s/ ASHLYNN D MEDINA
                                                                                   ASHLYNN D MEDINA
                                                                                   Debtor

If attaching pay stubs or other payment advices, it is your responsibility to redact (black out) any social security numbers,
names of minor children, dates of birth or financial account numbers before attaching them to this document.




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                                                                                                                                                                                          Payrolls by Paychex, Inc.
                                 915 N CENTRAL AVE                                    EE ID: 177           DD
                                 PHOENIX AZ 85004
Payrolls by Paychex, Inc.




                                                                        ASHLYNN D MEDINA
                                                                        7701 E OSBORNE RD                                                          NON-NEGOTIABLE
                                                                        APT 3W
                                                                        SCOTTSDALE AZ 85251




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                           EARNINGS             DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Ashlynn D Medina
                            7701 E Osborne Rd                                                             Hourly                                                      253.40    6335.00
                            Apt 3W                                                                        Salary                                          1019.23              18346.14
                            Scottsdale, AZ 85251                                                          Total Hours                                                 253.40
                            Soc Sec #: xxx-xx-xxxx   Employee ID: 177                                     Gross Earnings                                  1019.23              24681.14
                                                                                                          Total Hrs Worked
                                                                                     WITHHOLDINGS         DESCRIPTION         FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Pay Period: 06/18/18 to 06/24/18
                            Check Date: 06/29/18     Check #: 13994                                       Social Security                                    63.19              1530.23
                            NET PAY ALLOCATIONS                                                           Medicare                                           14.78               357.88
                                                                                                          Fed Income Tax      M0                             88.33              2191.47
                            DESCRIPTION         THIS PERIOD ($)            YTD ($)                        AZ Income Tax       1.3%                           13.25               320.85
                            Check Amount                    0.00             0.00
                            Chkg 3377                     839.68         20280.71                         TOTAL                                             179.55              4400.43
                            NET PAY                       839.68         20280.71




                                                                                     NET PAY                                                       THIS PERIOD ($)               YTD ($)
                                                                                                                                                           839.68               20280.71

                             Payrolls by Paychex, Inc.

                            0075 1504-7124 Roosevelt Restaurant LLC • 915 N Central Ave • Phoenix AZ 85004 • (602) 680-7747
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                                                                                                                                                                                          Payrolls by Paychex, Inc.
                                 915 N CENTRAL AVE                                    EE ID: 177           DD
                                 PHOENIX AZ 85004
Payrolls by Paychex, Inc.




                                                                        ASHLYNN D MEDINA
                                                                        7701 E OSBORNE RD                                                          NON-NEGOTIABLE
                                                                        APT 3W
                                                                        SCOTTSDALE AZ 85251




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                           EARNINGS             DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Ashlynn D Medina
                            7701 E Osborne Rd                                                             Hourly                                                      253.40    6335.00
                            Apt 3W                                                                        Salary                                          1019.23              17326.91
                            Scottsdale, AZ 85251                                                          Total Hours                                                 253.40
                            Soc Sec #: xxx-xx-xxxx   Employee ID: 177                                     Gross Earnings                                  1019.23              23661.91
                                                                                                          Total Hrs Worked
                                                                                     WITHHOLDINGS         DESCRIPTION         FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Pay Period: 06/11/18 to 06/17/18
                            Check Date: 06/22/18     Check #: 13964                                       Social Security                                    63.19              1467.04
                            NET PAY ALLOCATIONS                                                           Medicare                                           14.78               343.10
                                                                                                          Fed Income Tax      M0                             88.33              2103.14
                            DESCRIPTION         THIS PERIOD ($)            YTD ($)                        AZ Income Tax       1.3%                           13.25               307.60
                            Check Amount                    0.00             0.00
                            Chkg 3377                     839.68         19441.03                         TOTAL                                             179.55              4220.88
                            NET PAY                       839.68         19441.03




                                                                                     NET PAY                                                       THIS PERIOD ($)               YTD ($)
                                                                                                                                                           839.68               19441.03

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                                 915 N CENTRAL AVE                                    EE ID: 177           DD
                                 PHOENIX AZ 85004
Payrolls by Paychex, Inc.




                                                                        ASHLYNN D MEDINA
                                                                        7701 E OSBORNE RD                                                          NON-NEGOTIABLE
                                                                        APT 3W
                                                                        SCOTTSDALE AZ 85251




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                           EARNINGS             DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Ashlynn D Medina
                            7701 E Osborne Rd                                                             Hourly                                                      253.40    6335.00
                            Apt 3W                                                                        Salary                                          1019.23              16307.68
                            Scottsdale, AZ 85251                                                          Total Hours                                                 253.40
                            Soc Sec #: xxx-xx-xxxx   Employee ID: 177                                     Gross Earnings                                  1019.23              22642.68
                                                                                                          Total Hrs Worked
                                                                                     WITHHOLDINGS         DESCRIPTION         FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Pay Period: 06/04/18 to 06/10/18
                            Check Date: 06/15/18     Check #: 13934                                       Social Security                                    63.20              1403.85
                            NET PAY ALLOCATIONS                                                           Medicare                                           14.78               328.32
                                                                                                          Fed Income Tax      M0                             88.33              2014.81
                            DESCRIPTION         THIS PERIOD ($)            YTD ($)                        AZ Income Tax       1.3%                           13.25               294.35
                            Check Amount                    0.00             0.00
                            Chkg 3377                     839.67         18601.35                         TOTAL                                             179.56              4041.33
                            NET PAY                       839.67         18601.35




                                                                                     NET PAY                                                       THIS PERIOD ($)               YTD ($)
                                                                                                                                                           839.67               18601.35

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                                 915 N CENTRAL AVE                                    EE ID: 177           DD
                                 PHOENIX AZ 85004
Payrolls by Paychex, Inc.




                                                                        ASHLYNN D MEDINA
                                                                        7701 E OSBORNE RD                                                          NON-NEGOTIABLE
                                                                        APT 3W
                                                                        SCOTTSDALE AZ 85251




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                           EARNINGS             DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Ashlynn D Medina
                            7701 E Osborne Rd                                                             Hourly                                                      253.40    6335.00
                            Apt 3W                                                                        Salary                                          1019.23              15288.45
                            Scottsdale, AZ 85251                                                          Total Hours                                                 253.40
                            Soc Sec #: xxx-xx-xxxx   Employee ID: 177                                     Gross Earnings                                  1019.23              21623.45
                                                                                                          Total Hrs Worked
                                                                                     WITHHOLDINGS         DESCRIPTION         FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Pay Period: 05/28/18 to 06/03/18
                            Check Date: 06/08/18     Check #: 13904                                       Social Security                                    63.19              1340.65
                            NET PAY ALLOCATIONS                                                           Medicare                                           14.78               313.54
                                                                                                          Fed Income Tax      M0                             88.33              1926.48
                            DESCRIPTION         THIS PERIOD ($)            YTD ($)                        AZ Income Tax       1.3%                           13.25               281.10
                            Check Amount                    0.00             0.00
                            Chkg 3377                     839.68         17761.68                         TOTAL                                             179.55              3861.77
                            NET PAY                       839.68         17761.68




                                                                                     NET PAY                                                       THIS PERIOD ($)               YTD ($)
                                                                                                                                                           839.68               17761.68

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                                 915 N CENTRAL AVE                                    EE ID: 177           DD
                                 PHOENIX AZ 85004
Payrolls by Paychex, Inc.




                                                                        ASHLYNN D MEDINA
                                                                        7701 E OSBORNE RD                                                          NON-NEGOTIABLE
                                                                        APT 3W
                                                                        SCOTTSDALE AZ 85251




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                           EARNINGS             DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Ashlynn D Medina
                            7701 E Osborne Rd                                                             Hourly                                                      253.40    6335.00
                            Apt 3W                                                                        Salary                                          1019.23              14269.22
                            Scottsdale, AZ 85251                                                          Total Hours                                                 253.40
                            Soc Sec #: xxx-xx-xxxx   Employee ID: 177                                     Gross Earnings                                  1019.23              20604.22
                                                                                                          Total Hrs Worked
                                                                                     WITHHOLDINGS         DESCRIPTION         FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Pay Period: 05/21/18 to 05/27/18
                            Check Date: 06/01/18     Check #: 13873                                       Social Security                                    63.19              1277.46
                            NET PAY ALLOCATIONS                                                           Medicare                                           14.78               298.76
                                                                                                          Fed Income Tax      M0                             88.33              1838.15
                            DESCRIPTION         THIS PERIOD ($)            YTD ($)                        AZ Income Tax       1.3%                           13.25               267.85
                            Check Amount                    0.00             0.00
                            Chkg 3377                     839.68         16922.00                         TOTAL                                             179.55              3682.22
                            NET PAY                       839.68         16922.00




                                                                                     NET PAY                                                       THIS PERIOD ($)               YTD ($)
                                                                                                                                                           839.68               16922.00

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                                                                                                                                                                                          Payrolls by Paychex, Inc.
                                 915 N CENTRAL AVE                                    EE ID: 177           DD
                                 PHOENIX AZ 85004
Payrolls by Paychex, Inc.




                                                                        ASHLYNN D MEDINA
                                                                        7701 E OSBORNE RD                                                          NON-NEGOTIABLE
                                                                        APT 3W
                                                                        SCOTTSDALE AZ 85251




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                           EARNINGS             DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Ashlynn D Medina
                            7701 E Osborne Rd                                                             Hourly                                                      253.40    6335.00
                            Apt 3W                                                                        Salary                                          1019.23              13249.99
                            Scottsdale, AZ 85251                                                          Total Hours                                                 253.40
                            Soc Sec #: xxx-xx-xxxx   Employee ID: 177                                     Gross Earnings                                  1019.23              19584.99
                                                                                                          Total Hrs Worked
                                                                                     WITHHOLDINGS         DESCRIPTION         FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Pay Period: 05/14/18 to 05/20/18
                            Check Date: 05/25/18     Check #: 13842                                       Social Security                                    63.19              1214.27
                            NET PAY ALLOCATIONS                                                           Medicare                                           14.78               283.98
                                                                                                          Fed Income Tax      M0                             88.33              1749.82
                            DESCRIPTION         THIS PERIOD ($)            YTD ($)                        AZ Income Tax       1.3%                           13.25               254.60
                            Check Amount                    0.00             0.00
                            Chkg 3377                     839.68         16082.32                         TOTAL                                             179.55              3502.67
                            NET PAY                       839.68         16082.32




                                                                                     NET PAY                                                       THIS PERIOD ($)               YTD ($)
                                                                                                                                                           839.68               16082.32

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